USCA4 Appeal: 25-1404    Doc: 1        Filed: 04/16/2025   Pg: 1 of 1


                                                                    FILED: April 16, 2025

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                           No. 25-1404
                                       (8:25-cv-00951-PX)
                                      ___________________

        KILMAR ARMANDO ABREGO GARCIA; JENNIFER STEFANIA VASQUEZ
        SURA; A.A.V., a minor, by and through his next friend and mother, Jennifer
        Vasquez Sura

                     Plaintiffs - Appellees

        v.

        KRISTI NOEM; TODD LYONS; KENNETH GENALO; NIKITA BAKER;
        PAMELA JO BONDI; MARCO RUBIO

                     Defendants - Appellants


        This case has been opened on appeal.

        Originating Court             United States District Court for the District of
                                      Maryland at Greenbelt
        Originating Case Number       8:25-cv-00951-PX
        Date notice of appeal filed   04/16/2025
        in originating court:
        Appellant(s)                  Kristi Noem, Todd Lyons, Kenneth Genalo,
                                      Nikita Baker, Pamela Bondi and Marco Rubio
        Appellate Case Number         25-1404
        Case Manager                  Cathi Bennett
                                      804-916-2702
